Case 2:O4-cv-O2399-.]DB-dkv Document 23 Filed 07/06/05 Page 1 of 2 Page|D 46

lN THE UNITED STATES DISTRlCT COURT FILED BY __\’L<€_gp_c_
FOR THE WESTERN DISTRlCT OF TENNESSEE
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DIRECTV, INC., a California Corp.,
Cl.EBl;-,)US CF<`TD‘PTC(]BT
Plaintiff,
v. No. 041-2399 B V
JESSE POWELL,
Defendant.

 

ORDER DIRECTING PARTIES TO SUBMIT BRIEFS

 

Before the Court is the motion of pro se Defendant, J esse Powell, for a court appointed
attorneyl in his motion, Powell indicates that he is currently involved in bankruptcy proceedings
When a bankruptcy petition is filed, § 362 of the Bankruptcy Code operates as a stay applicable to
all entities preventing the “commencement or continuation . . . of judicial, administrative, or other
action or proceeding against the debtor . _ . to recover a claim against the debtor that arose before the
commencement ol` the case under this title.” ll U.S.C. § 362(a). The Court is uncertain as to
whether this claim is listed in Defendant’s bankruptcy As well, the parties should submit position
papers on What effect, if any, Powell’s bankruptcy has on the pending litigation Therefore, the
parties are hereby DIRECTED to tile briefs addressing the question within fifteen (15) days of the
entry ofthis order.

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IT Is so oRDERED this L, day arJuiy, 2005.

 

tNTE'L' BREEN \
ED sTATEs DISTRICT‘-JUDGE

 

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l Th|s document entered on tne- docket sheet in compliance

with Hu|e 55 end/or 79(a) rHCP on q 'C§/
§§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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Antonio L. Matthevvs

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Honorable J. Breen
US DISTRICT COURT

